Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 1 of 24




                          Exhibit 19

         Massachusetts Division of
  Insurance Report of Examination of AEIC
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 2 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 3 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 4 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 5 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 6 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 7 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 8 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 9 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 10 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 11 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 12 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 13 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 14 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 15 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 16 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 17 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 18 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 19 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 20 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 21 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 22 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 23 of 24
Case 1:21-cv-11205-FDS   Document 182-19   Filed 01/06/25   Page 24 of 24
